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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

ROBERT (BOB) ROSS,                               §
                                                 §
  Plaintiff/Counterclaim Defendant,              §
                                                 §
v.                                               §       Civil Action No. 4:22-CV-00343-Y
                                                 §
ASSOCIATION OF PROFESSIONAL                      §
FLIGHT ATTENDANTS, JULIE                         §
HEDRICK, AND ERIK HARRIS,                        §
                                                 §
  Defendants/Counterclaim Plaintiffs.            §

           UNION DEFENDANTS’ REPLY TO PLAINTIFF ROSS’S RESPONSE (DOC 33)
               TO THE UNION DEFENDANTS’ MOTION TO DISMISS (DOC.27)

     I.       INTRODUCTION

           The Union Defendants have respectfully and repeatedly submitted to the Court what they

believe to be the well settled legal principles requiring dismissal of all of the claims by Plaintiff

Ross in this case and in the companion case of Vargas v. APFA et. al., Civil Action No. 4:22-cv-

00430-Y, under both Federal Rules 12(b)(1) and 12(b)(6). Rather than restate all of the settled

and dispositive legal precedents in this Reply to the Response to Defendants’ Motion to Dismiss

by Plaintiff Ross (doc. 33) (“Ross Resp.”), which we have already detailed in our Motion to

Dismiss (doc. 27), we submit the following to address and dispose of only the most recent

erroneous legal arguments by Ross.

     II.      SUBJECT MATTER JURISDICTION

           As previously noted, Plaintiff Ross’s only assertion of subject matter jurisdiction, Section

101(a)(5) of the LMRDA, 29 U.S.C. Section 411(a)(5) (Ross Complaint, pg. 1 para. 1; pgs. 3-4



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para. 9; pg. 18 para. 5), is unavailing and, on this ground, his lawsuit should be denied. To be

actionable under Section 101(a)(5) the alleged violation must "be (d)iscipline … done in the

name of or on behalf of the union as an organizational entity.” Breininger v. Sheet Metal

Workers Int'l Ass'n Local Union No. 6, 493 U.S. 67, 97 (1987). Here, it is undisputed that the

arbitration decision at issue was not undertaken by or on behalf of the Defendant Union or its

officers, but was filed and processed by Union members; the Defendant Union and its officers

did not initiate and were not parties to the arbitration process, and did not take any position with

respect to either the merits of the underlying charges or the remedy. (Def. Mem. pgs. 1-3, 5; Ross

Complaint, pgs. 6-7 para. 18; pg. 11 para. 29; pgs. 12-13 paras. 30, 31, 32 (Union members

initiated the charges); pgs. 13-16 paras. 33-38 (Union Defendants were not parties to the

arbitration proceeding).

        As previously noted in the companion Vargas case, the courts have consistently ruled,

even where, as is undisputedly not the case here, it was the union that filed and processed a

grievance in its own stead, “(a) local union's action or inaction in the processing of a grievance is

not ‘discipline’ or punishment within the meaning of the LMRDA.” Hebert v. Gen. Truck

Drivers, Chauffeurs, Warehousemen & Helpers, Local 270, 2004 U.S. Dist. LEXIS 13406 at

*12-17 (E.D. La. 2004); Camporeale v. Airborne Freight Corp., 732 F. Supp. 358, 366

(E.D.N.Y.), aff'd without op., 923 F.2d 842 (2nd Cir. 1990).

        There are only two citations to Section 101(a)(5) to be found anywhere in Ross’s

Opposition, and they do not appear until pages 13 and 14 of his Response, suggesting at least

that Ross understands the weakness of that particular provision as his entire source of purported

subject matter jurisdictional authority. Rather than cite specifically to Section 101(a)(5) as the

only jurisdictional basis for his attempt to vacate the arbitration decision at issue, Plaintiff



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misleadingly attempts to substitute LMRDA Section 102 as the jurisdictional basis for his

Complaint. Ross Resp. 12. Section 102 generally provides jurisdiction for all “of the provisions

of this title” – LMRDA Sections 101(a) through 101(a)(5) -- and, as noted, Plaintiff’s only claim

is for alleged violation of Section 101(a)(5). (Ross Complaint, pg. 1 para. 1; pgs. 3-4 para. 9; pg.

18 para. 58).

          “Title I of the LMRDA is not a catch-all into which might be swept all manner of

miscellaneous charges without any specificity.” Abrams v. Carrier Corp., 434 F. 2d 1234, 1250

(2nd Cir. 1970), cert den. 401 US 1007 (1971) (citing Scovile v. Watson, 338 F.2d 678, 681 (7th

Cir. 1964), cert. den, 380 U.S. 963 (1965); Green v. Local 705, Hotel and Restaurant Employees'

and Bartenders' International Union, AFL-CIO, 220 F. Supp. 505, 507 (E.D. Mich. 1963)).

   III.      FAILURE TO STATE A CLAIM
          Given the adverse legal precedents facing his erroneous assertions of LMRDA Section

101(a)(5), as both his only basis for jurisdiction and his asserted standard of review, Plaintiff

Ross has now reversed course and made a half-hearted post hoc attempt to introduce a new

standard: that the arbitration decision at issue should be vacated pursuant to Section 301(a) of the

LMRA, 29 U.S.C. Section 185(a). Ross Resp. 19. Ross’s Complaint contains no such assertion

of Section 301(a) subject matter jurisdiction, of course. Indeed, no citation to Section 301 of the

LMRA can be found within the four corners of the Ross Complaint. Plaintiff’s belated attempt

in his Response to establish compliance with LMRA Section 301(a) – without even citing to that

statute in his Complaint -- is, once again, in error as a matter of law.

          First, Plaintiff confusingly describes Section 301(a) as applicable only to collective

bargaining agreements involving employers like American Airlines. (Ross Resp. pgs. 17-18).

Section 301(a), by its terms, also governs “contracts … between labor organizations,” here the


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APFA Constitution between the Union and its constituent local bodies (so-called “Bases”). (Def.

Mem. Pg. 10). Section 301(a) caselaw applies the “highly deferential” standard of judicial

review to arbitration decisions without exception. (Def. Mem. Pgs. 6-7. 8 fn. 8).

       Then, in his post hoc attempt to argue compliance with the Section 301(a) standard of

judicial review of arbitration decisions, Plaintiff Ross cites a Section 301(a) decision by the

Supreme Court, United Paper Workers v. Misco, Inc., 484 U.S. 29 (1987), at 38-39, as standing

for an exception to the deferential Section 301(a) standard of judicial review: where the

arbitration decision was obtained through “the arbitrator’s dishonesty.” Ross Resp. 19. Ross

then offers an unspecified citation to “Exh. H. Pl. Original Complaint” as the entire basis for his

allegation of arbitrator “dishonesty.” (Ross Resp. pg. 19).

       Paragraphs 41 and 42, the only references in Ross’s Complaint (pgs. 16-18) which

contain any reference to alleged arbitrator “dishonesty,” actually refute his post hoc

allegation. The purported “dishonesty” referenced in the paragraphs 41 and 42 of the Ross

Complaint refers to evidentiary rulings by the Arbitrator during the hearing, rulings that Ross

apparently disagreed with. (Ross Complaint, pgs. 13-16 paras. 33-38).

       Evidentiary rulings by an arbitrator, as well as all other procedural issues arising in

arbitration, are within the exclusive jurisdiction of the arbitrator and not the courts. John Wiley &

Sons, Inc. v. Livingston, 378 U.S. 543, 557 (1964); Columbian Carbon Co. v. Operating

Engineers, 360 F. 2d 1018, 1020-21 (5th Cir. 1966). Ross’s ninth inning attempt to re-invent a

basis for judicial review of the arbitration decision at issue by complaining about the Arbitrator’s

evidentiary rulings obviously fails to state a claim for relief as a matter of law.




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    IV.      CONCLUSION

          Plaintiff Ross has failed to assert a valid basis for subject matter jurisdiction to support

his suit attempt to vacate the arbitration decision at issue, or the closely related state court claims,

and his asserted legal basis for attempting to litigate those issues fails to state a claim upon which

relief should be granted. He has implicitly conceded the absence of jurisdiction for his claims

against the APFA officers and the absence of jurisdiction for his state law claims, and conceded

as well his failure to even attempt to exhaust the mandatory internal procedures in the APFA

Constitution.

          Ross’s claims against the Union Defendants should therefore be dismissed in their

entirety under Federal Rules 12(b)(1) and 12(b)(6), leaving the Defendants’ counterclaims,

including to enforce the arbitration decision at issue, to be determined by the Court.

Date: August 18, 2022                            Respectfully Submitted,

                                                   /s/ Sanford R. Denison
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                                                 Defendants Julie Hedrick and Erik Harris


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                               CERTIFICATE OF SERVICE

       I certify that on this 18th day of August 2022 a true and correct copy of the foregoing
document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant
Vargas by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

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